Case 3:13-cv-05096-PGS-DEA Document 61 Filed 06/18/15 Page 1 of 3 PageID: 450




                                 UNITED STATES DISTRI ZT COURT
                                FOR THE DISTRICT OF NHW JERSEY


     J&J NEW JERSEY, LLC                                Civil Action No. 13-cv-05096 (PGS)(DEA)

                        Plaintiff

              V.




     UNITY CONSTRUCTION SERVICES. fNC..                                  ORDER
     ATA/BEILHARZ ARCHITECTS. LLC,
     KOHRS LONNEMANN HElL ENGINEERS,
     PSC. FRANK MELI d/b/a MELI PLUMBING
     & HEATING. INC., MELI PLUMB[NG &
     HEATING, INC.. and NAI DILEO-BRAM
     PROPERTY MANAGEMENT. I.LC.

                        Defendants.




           WHEREAS, presently pending bethre the Court i Plaintiff, J&J New Jersey, LLC’s

    (hereinafter “PlaintifP), Motion for Reconsideration ofth. Order of this Court dated March 31, 2015

 (ECF No. 50),1 granting Defendant, Kohrs Lonnemarm lieu Engineers, PSC’s (hereinafter

 “Defendant” or “KU--I”), Motion for Partial Summary Judgment. and dismissing PlaintifPs claims

against Defendant with prejudice;

           WHEREAS, the Court, in the exercise of its discrtion, has elected to determine the present

motion based on a careful review of the parties submissions, and without need for oral argument

with respect to same: see Pro R. Civ. P. 78(b);



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  Review of the docket sheet in this matter indicates that Paintiffs motion seeks reconsideration
of the Orders of this Court dated March 31, 2015 (ECF N s. 49. 50). However, Plaintilis brief
filed in support of the instant motion appears to seek reconsideration by this Court solely of its
Order docketed as entry number 50, i.e.. the Order grantirg KLIFs Motion for Partial Summary
flidgment.
Case 3:13-cv-05096-PGS-DEA Document 61 Filed 06/18/15 Page 2 of 3 PageID: 451




         WHEREAS. Plaintiff contends. in its brief filed in support of the instant motion. that the

 Court committed clear error of law by applying the economic loss doctrine so as to bar Plaintiffs

 claim sounding in negligence asserted against KLI-l on the basis of an erroneous interpretation of,

 infer ui/u.   the holding of the Superior Court of New Jersey. Law Division. Middlesex County in

 Spec/rosen’, Inc. v. Middlesex County    Utiis..4uih.,   2013 N.J. Super. Unpubl. LEXIS 2173 (Law Div.

 Ju1y25,2013);

         WHEREAS, contrary to Plaintiffs contention, the Court conducted a thorough and careful

 review of both the holding and reasoning animating the decision of the court in Spectraserv, Inc. v.

 Middlesex County U/i/s. Auth., 2013 N.J. Super. Unpubl. LEXIS 2173 (Law Div. July 25, 2013), and

 concluded, on the basis thereof. that Plaintiffs claim against KLFI. under the circumstances

 presented by the instant matter, are barred by operation of the economic loss doctrine;

         WHEREAS, the Court further notes that Plaintiff argues that it never had the opportunity to

brief the issue of the applicability of the economic loss rule to the claims asserted against KLH,

which contention the Court rejects on the ground that it was, indeed. Plaintiff that raised this very

issue in its brief filed in opposition to KLH’s Motion for Partial Summary Judgment (ECF. No. 42);

see Plaintiffs Brief in Opposition to KLH’s Motion for P rtial Summary Judgment at 7;

         WHEREAS, the Court further observes that Plaintiffs reliance on Con/örti & Eisele, Inc. v.

,Iohn c. Morris Associutes. 175 N.J. Super. 341 (Law Div. 1980) and People Express Airlines, Inc. v.

Consul. Roil Coip.. 100 N.J. 246 (1985) is misplaced in that both of those cases are distinguishable

from the circumstances presented by the instant matter for the reasons set forth by the Spectrasen’,

Inc. court; see Spec/rosen’, inc.. 2013 N.J. Super. Unpubl. LEXIS 2173 at *41_44;

        WHEREAS, to succeed on a        motion for reconsideration   the moving party must show more

than disagreement’ with the decision it would like reconsi’Jered.” S/cite Furni Fire & Cas. C’o.   V.




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Case 3:13-cv-05096-PGS-DEA Document 61 Filed 06/18/15 Page 3 of 3 PageID: 452




  Vanaman. No. 10-1565, 2012 WL 5392263, at *1 (D.N.J. Nov. 1,2012) (quoting Anders v. FPA

 Coip.,   164 F.R.D. 383, 387 (D.N.J. 1995): and that, rather, “there must be some ‘dispositive factual

 matters or controlling decisions of law’ that were presented to the Court, but not considered,” Id.

 (quoting hiterfiuith Only. Org. v. Honeywell In!? Inc., 215 F. Supp. 2d 482, 507 (D.N.J. 2002); and

 finally, that a mere recapitulation of the cases and arguments considered by the court before

 rendering the original decision” does not warrant a grant of reconsideration,” Cauieret Sai’. Bank,

 PA. v. Shushan. 721 F. Supp. 705. 706 (D.N.J. 1989), mod.. 919 F.2d 225 (3d Cir. 1990); see also

 SI’. r. Depi/àrcl Tn
                   . Bcl. o/Ethic.. 248 F. Supp. 2d 368. 381 (I).N.J. 2003);
                   7

          VHEREAS, it is the determination of this Court that Plaintiff has failed to carry its burden

 under the above-referenced standard in that Plaintiff has failed to proffer any additional arguments

 beyond those already presented to, and considered by, the Court in rendering its determination of

 KLH’s prior Motion for Partial Summary Judgment.

          IT IS on this 16th day of June, 2015,

          ORDERED that Plaintiffs Motion for Reconsideration (ECF No. 42) of the Order of this

 Court dated March 31, 2015 (ECFNo. 50) be, and hereby is, DENIED WITH PREJUDICE.



 Dated: June 16, 2015

                                                                         ‘:      WnAAL
                                                                     PETER G. SHERIDAN, U.S.D..I.




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